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 6
 7                                   UNITED STATES DISTRICT COURT
 8                                          DISTRICT OF ARIZONA
 9    HKB, Inc., an Arizona Corporation, dba          2:16-cv-03799-PHX-DJH (Lead Case)
      Southwest Industrial Rigging,                   2:17-cv-00198-PHX-DJH
10
11                                   Plaintiff,       NOTICE OF SERVICE OF
      v.                                              HKB, INC.'S RULE 26(a) INITIAL
12                                                    DISCLOSURE STATEMENT
      Board of Trustees for the Southwest
13    Carpenter’s Southwest Trust; et al.,
                                                      (Assigned to the Honorable
14                                   Defendants.      Diane J. Humetawa)
15    Board of Trustees for the Southwest
      Carpenter’s Southwest Trust; et al.,
16
                                     Plaintiffs,
17
      v.
18
      HKB, Inc., an Arizona Corporation, dba
19    Southwest Industrial Rigging, et al.
20
                                     Defendants.
21
22            HKB, Inc. dba Southwest Industrial Rigging hereby gives notice of service upon
23 Board of Trustees for the Southwest Carpenter’s Southwest Trust of its Initial Disclosure
24 Statement by U.S. Mail and e-mail on October 15, 2018.
25
26 ///
27 ///
28 ///

     CORE/3008422.0002/147408742.1
       Case 2:16-cv-03799-DJH Document 60 Filed 10/16/18 Page 2 of 2




 1            RESPECTFULLY SUBMITTED this 16th day of October, 2018.
 2                                                    STINSON LEONARD STREET LLP
 3
                                            By:       /s/ Javier Torres
 4
                                                      James E. Holland, Jr.
 5                                                    Javier Torres
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 6                                                    Phoenix, Arizona 85004-4584
                                                      Attorneys for Southwest Industrial Rigging
 7
 8
 9
10                                   CERTIFICATE OF SERVICE
11            I hereby certify that on October 16, 2018, I caused the foregoing document to be
12 mailed via U.S. Mail and a courtesy copy e-mailed to:
13
              Daniel Shanley
14            Thomas Davis
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18            Administrative Corporation and Board of Trustees
19            for the Carpenters Southwest Trusts

20
21                                             /s/ C. Roundtree
                                               C. Roundtree, Legal Assistant
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